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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GWENDOLYN PURNELL                                   :
                                                    :
       v.                                           :   CIVIL ACTION NO. 22-2773
                                                    :
GOODLEAP, LLC., et al.                              :


                                            ORDER

       AND NOW, this 31st day of March, 2023, upon consideration of Plaintiff’s Motion to

Remand (ECF No. 7), it is ORDERED as follows:

       1.       The Motion to Remand is GRANTED; and

       2.       The above-captioned matter is REMANDED to the Court of Common Pleas of

Philadelphia County;

       3.       Defendant Sunrun Inc., Leroi Taylor, Vivint Solar Developer, LLC, and Vivint

Solar, Inc.’s Motion to Compel Arbitration (ECF No. 5), Defendant Goodleap, LLC’s Motion to

Compel Arbitration and Stay Litigation (ECF No. 6), Defendant Sunrun Inc, Leroi Taylor, Vivint

Solar, Defendant Sunrun Inc., Leroi Taylor, Vivint Solar Developer, LLC, and Vivint Solar,

Inc.’s Motion for Leave to File Reply Brief (ECF No. 9), and Defendant Goodleap, LLC’s

Motion to File Reply Brief (ECF No. 10) are DENIED as MOOT; and

       4.       It is ORDERED that this matter shall be marked CLOSED.



                                            BY THE COURT:



                                            /s/ R. Barclay Surrick
                                            R. BARCLAY SURRICK, J.
